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 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                        2:19-CR-233-RFB-EJY

 9                  Plaintiff,                      Final Order of Forfeiture

10          v.

11 ALEXIUS LAVELL DAVIS,

12                  Defendant.

13         The United States District Court for the District of Nevada entered a Preliminary
14 Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. §

15 924(d)(1) with 28 U.S.C. § 2461(c) based upon the plea of guilty by Alexius Lavell Davis to

16 the criminal offense, forfeiting the property set forth in the Stipulation to Modify Plea

17 Agreement and shown by the United States to have the requisite nexus to the offense to

18 which Alexius Lavell Davis pled guilty. Criminal Indictment, ECF No. 1; Plea Agreement,

19 ECF No. 25; Change of Plea, ECF No. 26; Order Granting Stipulation to Modify Plea

20 Agreement, ECF No. 36; Preliminary Order of Forfeiture, ECF No. 37.

21         This Court finds that on the government’s motion, the court may at any time enter
22 an order of forfeiture or amend an existing order of forfeiture to include subsequently

23 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

24 32.2(b)(2)(C).

25         The government served every person reasonably identified as a potential claimant in
26 lieu of publication pursuant to Fed. R. Crim. P. 32.2(b)(6)(C) with Fed. R. Civ. P. Supp.

27 Rule G(4)(a)(i)(A).

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 1          This Court finds no petition was filed herein by or on behalf of any person or entity

 2   and the time for filing such petitions and claims has expired.

 3          This Court finds no petitions are pending with regard to the property named herein

 4   and the time for presenting such petitions has expired.

 5          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 6   all possessory rights, ownership rights, and all rights, titles, and interests in the property

 7   hereinafter described are condemned, forfeited, and vested in the United States pursuant to

 8   Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C. §

 9   924(d)(1) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(n)(7) and shall be disposed of

10   according to law:

11          1. a High Standard H-D military .22 caliber handgun, bearing serial number

12              187934; and

13          2. any and all ammunition

14   (all of which constitutes property).

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all

16   forfeited funds, including but not limited to, currency, currency equivalents, certificates of

17   deposit, as well as any income derived as a result of the government’s management of any

18   property forfeited herein, and the proceeds from the sale of any forfeited property shall be

19   disposed of according to law.

20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

21   copies of this Order to all counsel of record.

22                   October 30
            DATED _____________________, 2020.

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25                                                RICHARD F. BOULWARE, II
                                                  UNITED STATES DISTRICT JUDGE
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